              Case 19-00149-SMT                           Doc 54           Filed 05/01/19 Entered 05/01/19 11:03:52                                                      Desc Main
                                                                          Document     Page 1 of 17
              Fill in this information to identify your case:

 Debtor 1                   Thomas K. Stephenson
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


                                                          DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:                  DIVISION

 Case number           19-00149
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $          5,300,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                5,393.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          5,305,393.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $          2,794,886.37

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              69,492.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $                9,672.96


                                                                                                                                     Your total liabilities $                2,874,051.33


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $              39,100.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              27,160.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.



 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00149-SMT                        Doc 54     Filed 05/01/19 Entered 05/01/19 11:03:52                                Desc Main
                                                              Document     Page 2 of 17
 Debtor 1     Stephenson, Thomas K.                                                   Case number (if known) 19-00149
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
             court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $        39,100.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            69,492.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             69,492.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case 19-00149-SMT                               Doc 54         Filed 05/01/19 Entered 05/01/19 11:03:52                                    Desc Main
                                                                           Document     Page 3 of 17
               Fill in this information to identify your case and this filing:

 Debtor 1                    Thomas K. Stephenson
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


                                                             DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:                     DIVISION

 Case number            19-00149                                                                                                                             Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        711 49th St NE                                                                                                         the amount of any secured claims on Schedule D:
        Street address, if available, or other description                         Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Washington                        DC        20019-4811                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $900,000.00                 $900,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only                                  Fee Simple
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00149-SMT                                Doc 54    Filed 05/01/19 Entered 05/01/19 11:03:52                                           Desc Main
                                                                     Document     Page 4 of 17
 Debtor 1        Stephenson, Thomas K.                                                                                Case number (if known)          19-00149
       If you own or have more than one, list here:
 1.2                                                                 What is the property? Check all that apply

                                                                           Single-family home                               Do not deduct secured claims or exemptions. Put
       719 49th St NE                                                                                                        the amount of any secured claims on Schedule D:
       Street address, if available, or other description                  Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property .
                                                                            Condominium or cooperative
                                                                       
                                                                           Manufactured or mobile home
                                                                                                                             Current value of the         Current value of the
       Washington                       DC         20019-4812              Land                                             entire property?             portion you own?
       City                             State           ZIP Code           Investment property                                    $800,000.00                   $800,000.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only                                       Fee Simple
                                                                           Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




       If you own or have more than one, list here:
 1.3                                                                 What is the property? Check all that apply


       4815 Kansas Ave NW
                                                                        Single-family home                                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
                                                                            Duplex or multi-unit building
       Street address, if available, or other description                                                                   Creditors Who Have Claims Secured by Property .
                                                                            Condominium or cooperative
                                                                       
                                                                           Manufactured or mobile home
                                                                                                                             Current value of the         Current value of the
       Washington                       DC         20011-6120              Land                                             entire property?             portion you own?
       City                             State           ZIP Code           Investment property                                    $600,000.00                   $600,000.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only
                                                                           Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




Official Form 106A/B                                                    Schedule A/B: Property                                                                             page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00149-SMT                                Doc 54    Filed 05/01/19 Entered 05/01/19 11:03:52                                           Desc Main
                                                                     Document     Page 5 of 17
 Debtor 1        Stephenson, Thomas K.                                                                                Case number (if known)          19-00149
       If you own or have more than one, list here:
 1.4                                                                 What is the property? Check all that apply

                                                                           Single-family home                               Do not deduct secured claims or exemptions. Put
       1005 Eastern Ave                                                                                                      the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                           Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property .
                                                                           Condominium or cooperative

                                                                           Manufactured or mobile home
                                                                                                                             Current value of the         Current value of the
       Capitol Heights                  MD         20743-1306           Land                                                entire property?             portion you own?
       City                             State           ZIP Code           Investment property                                    $300,000.00                    $300,000.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only                                       Fee Simple
                                                                           Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




       If you own or have more than one, list here:
 1.5                                                                 What is the property? Check all that apply

                                                                           Single-family home                               Do not deduct secured claims or exemptions. Put
       5134 Sheriff Rd NE                                                                                                    the amount of any secured claims on Schedule D:
       Street address, if available, or other description                  Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property .
                                                                            Condominium or cooperative
                                                                       
                                                                           Manufactured or mobile home
                                                                                                                             Current value of the         Current value of the
       Washington                       DC         20019-5582              Land                                             entire property?             portion you own?
       City                             State           ZIP Code           Investment property                                  $1,500,000.00                   $1,500,000.00
                                                                           Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                           Other                                            (such as fee simple, tenancy by the entireties, or
                                                                     Who has an interest in the property? Check one          a life estate), if known.

                                                                        Debtor 1 only                                       Fee Simple
       District of Columb                                                  Debtor 2 only
       County                                                              Debtor 1 and Debtor 2 only
                                                                                                                                 Check if this is community property
                                                                           At least one of the debtors and another
                                                                                                                                (see instructions)
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




Official Form 106A/B                                                    Schedule A/B: Property                                                                             page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00149-SMT                                Doc 54      Filed 05/01/19 Entered 05/01/19 11:03:52                                              Desc Main
                                                                        Document     Page 6 of 17
 Debtor 1          Stephenson, Thomas K.                                                                                    Case number (if known)          19-00149
        If you own or have more than one, list here:
 1.6                                                                     What is the property? Check all that apply

                                                                                 Single-family home                               Do not deduct secured claims or exemptions. Put
        5128 Sheriff Rd NE                                                                                                         the amount of any secured claims on Schedule D:
        Street address, if available, or other description                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property .
                                                                                  Condominium or cooperative
                                                                            
                                                                                 Manufactured or mobile home
                                                                                                                                   Current value of the         Current value of the
        Washington                       DC         20019-5581                   Land                                             entire property?             portion you own?
        City                             State           ZIP Code                Investment property                                  $1,200,000.00                   $1,200,000.00
                                                                                 Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                 Other                                            (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one            a life estate), if known.

                                                                             Debtor 1 only                                        Fee Simple
        District of Columb                                                       Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                 At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                             $5,300,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1     Make:                                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:                                                    Debtor 1 only                                                 Creditors Who Have Claims Secured by Property .
          Year:                                                      Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                       Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                         At least one of the debtors and another
         Kia Sadona 2007
                                                                     Check if this is community property                                    $1,268.00                    $1,268.00
                                                                       (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                                 $1,268.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                            Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.



Official Form 106A/B                                                         Schedule A/B: Property                                                                              page 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-00149-SMT                         Doc 54    Filed 05/01/19 Entered 05/01/19 11:03:52                                  Desc Main
                                                             Document     Page 7 of 17
 Debtor 1       Stephenson, Thomas K.                                                                   Case number (if known)     19-00149
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   TV, Dining table, sofa, rugs, bedroom set, taable, DVD, living
                                   room furniture, dishes, pota and pans                                                                             $2,210.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Suits, pants, ties, belts, shirts, shoes, jackets, winter coat,
                                   gloves, jeans                                                                                                        $980.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.     Describe.....
                                   Wristwatch                                                                                                            $35.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.    Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                $3,225.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                           Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

Official Form 106A/B                                           Schedule A/B: Property                                                                       page 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00149-SMT                                    Doc 54             Filed 05/01/19 Entered 05/01/19 11:03:52                                  Desc Main
                                                                                   Document     Page 8 of 17
 Debtor 1          Stephenson, Thomas K.                                                                                          Case number (if known)   19-00149

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                     Cash in wallet                   $100.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.      Savings Account                        Capitol One                                                               $0.00



                                              17.2.      Checking Account                       BB&T Bank                                                                 $0.00


                                                         Savings
                                              17.3.      Account/Checking                       Eagle Bank                                                                $0.00


                                                         Checking/Savings
                                              17.4.      Account                                City First Bank                                                           $0.00



                                              17.5.      Checking Account                       Congressional Bank                                                    $500.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.

Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 6
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-00149-SMT                         Doc 54     Filed 05/01/19 Entered 05/01/19 11:03:52                                  Desc Main
                                                              Document     Page 9 of 17
 Debtor 1       Stephenson, Thomas K.                                                                     Case number (if known)    19-00149

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.    Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.    Describe each claim.........


Official Form 106A/B                                              Schedule A/B: Property                                                                    page 7
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00149-SMT                            Doc 54         Filed 05/01/19 Entered 05/01/19 11:03:52                                               Desc Main
                                                                      Document     Page 10 of 17
 Debtor 1        Stephenson, Thomas K.                                                                                      Case number (if known)         19-00149
35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                $600.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
   Yes.     Go to line 38.


                                                                                                                                                             Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.     Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.     Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
    Yes.      Describe.....

                                      Building repair tools, supplies                                                                                                      $300.00


41. Inventory
    No
     Yes.     Describe.....


42. Interests in partnerships or joint ventures
    No
     Yes.     Give specific information about them...................
                                      Name of entity:                                                                         % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
               Yes.     Describe.....


44. Any business-related property you did not already list
    No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................                $300.00

Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 8
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00149-SMT                                Doc 54           Filed 05/01/19 Entered 05/01/19 11:03:52                                               Desc Main
                                                                             Document     Page 11 of 17
 Debtor 1         Stephenson, Thomas K.                                                                                                 Case number (if known)   19-00149

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $5,300,000.00
 56. Part 2: Total vehicles, line 5                                                                             $1,268.00
 57. Part 3: Total personal and household items, line 15                                                        $3,225.00
 58. Part 4: Total financial assets, line 36                                                                      $600.00
 59. Part 5: Total business-related property, line 45                                                             $300.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $5,393.00             Copy personal property total              $5,393.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $5,305,393.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 9
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-00149-SMT                     Doc 54         Filed 05/01/19 Entered 05/01/19 11:03:52                                   Desc Main
                                                                  Document     Page 12 of 17
              Fill in this information to identify your case:

 Debtor 1                 Thomas K. Stephenson
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                    DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:            DIVISION

 Case number           19-00149
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      Kia Sadona 2007                                                                                                             D.C. Code § 15-501(a)(1)
      Line from Schedule A/B: 3.1
                                                                      $1,268.00                                    $1,268.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      TV, Dining table, sofa, rugs,                                                                                               D.C. Code § 15-501(a)(2)
      bedroom set, taable, DVD, living
                                                                      $2,210.00                                    $2,210.00
      room furniture, dishes, pota and                                                       100% of fair market value, up to
      pans                                                                                    any applicable statutory limit
      Line from Schedule A/B: 6.1

      Suits, pants, ties, belts, shirts,                                                                                          D.C. Code § 15-501(a)(2)
      shoes, jackets, winter coat, gloves,
                                                                          $980.00                                    $980.00
      jeans                                                                                  100% of fair market value, up to
      Line from Schedule A/B: 11.1                                                            any applicable statutory limit

      Wristwatch                                                                                                                  D.C. Code § 15-501(a)(3)
      Line from Schedule A/B: 12.1
                                                                           $35.00                                     $35.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Cash in wallet                                                                                                              D.C. Code § 15-501(a)(3)
      Line from Schedule A/B: 16.1
                                                                          $100.00                                    $100.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-00149-SMT                         Doc 54      Filed 05/01/19 Entered 05/01/19 11:03:52                                Desc Main
                                                               Document     Page 13 of 17
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Congressional Bank                                                                                                     D.C. Code § 15-501(a)(3)
     Line from Schedule A/B: 17.5
                                                                      $500.00                                  $500.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Building repair tools, supplies                                                                                        D.C. Code § 15-501(a)(4)
     Line from Schedule A/B: 40.1
                                                                      $300.00                                  $300.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-00149-SMT                      Doc 54         Filed 05/01/19 Entered 05/01/19 11:03:52                                       Desc Main
                                                                   Document     Page 14 of 17
              Fill in this information to identify your case:

 Debtor 1                   Thomas K. Stephenson
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:             DIVISION

 Case number           19-00149
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BB&T Company                             Describe the property that secures the claim:               $684,739.00            $2,700,000.00                      $0.00
         Creditor's Name
                                                  5128 Sheriff Road N.E.,
                                                  Washington, DC 20019
                                                  As of the date you file, the claim is: Check all that
         PO Box 1847                              apply.
         Wilson, NC 27894-1847                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Danett Investments, LLC                  Describe the property that secures the claim:               $335,000.00              $600,000.00                      $0.00
         Creditor's Name
                                                  4815 Kansas Ave NW, Washington,
         Dannett, LLC                             DC 20011-6120
         PO Box 2125                              As of the date you file, the claim is: Check all that
         Rockville, MD                            apply.
         20847-2125                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00149-SMT                            Doc 54       Filed 05/01/19 Entered 05/01/19 11:03:52                                  Desc Main
                                                                    Document     Page 15 of 17
 Debtor 1 Thomas K. Stephenson                                                                             Case number (if known)   19-00149
              First Name                  Middle Name                     Last Name


 2.3    Eagle Bank                                 Describe the property that secures the claim:                 $800,147.37        $1,500,000.00                $0.00
        Creditor's Name
                                                   5134 Sheriff Rd NE, Washington,
                                                   DC 20019-5582
        6010 Executive Blvd Fl 8                   As of the date you file, the claim is: Check all that
        Rockville, MD                              apply.
        20852-3809                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Washington Capital
 2.4                                               Describe the property that secures the claim:                 $975,000.00         $900,000.00          $75,000.00
        Partners
        Creditor's Name
                                                   711 49th St NE, Washington, DC
                                                   20019-4811
        2815 Hartland Rd Ste 200                   As of the date you file, the claim is: Check all that
        Falls Church, VA                           apply.
        22043-3548                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                             $2,794,886.37
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                            $2,794,886.37

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-00149-SMT                       Doc 54         Filed 05/01/19 Entered 05/01/19 11:03:52                            Desc Main
                                                                    Document     Page 16 of 17
              Fill in this information to identify your case:

 Debtor 1                 Thomas K. Stephenson
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


                                                      DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:              DIVISION

 Case number           19-00149
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Arron Spears                                                              1 year lease
              5134 Sheriff Rd NE Apt 203
              Washington, DC 20019-5523

     2.2      Charmaine Barker                                                          Apt #8 1 year lease
              711 49th St NE Apt #8
              Washington, DC 20


     2.3      David Blake                                                               Apartment #5 with 1 year lease
              711 49th St NE Apt 5
              Washington, DC 20019-4811

     2.4      Devon Cole                                                                1 year lease
              5134 Sheriff Rd NE Apt 204
              Washington, DC 20019-5523

     2.5      Lani Smith                                                                1 year lease
              5128 Sheriff Rd NE Apt 202
              Washington, DC 20019-5508

     2.6      Maria Martin                                                              1 year lease
              5128 Sheriff Rd NE Apt 303
              Washington, DC 20019-5508

     2.7      Sharon Spencer                                                            1 year lease
              5134 Sheriff Rd NE Apt 301
              Washington, DC 20019-5523




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case 19-00149-SMT               Doc 54       Filed 05/01/19 Entered 05/01/19 11:03:52                             Desc Main
                                                         Document     Page 17 of 17



      Fill in this information to identify your case:

Debtor 1                    Thomas K. Stephenson
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name

                                             DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
United States Bankruptcy Court for the:      DIVISION

Case number              19-00149
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Thomas K. Stephenson                                          X
             Thomas K. Stephenson                                              Signature of Debtor 2
             Signature of Debtor 1

             Date       May 1, 2019                                            Date
